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  6                                   UNITED STATES DISTRICT COURT
  7                                SOUTHERN DISTRICT OF CALIFORNIA
  8
      UNITED STATES OF AMERICA,                  ) Criminal Case No. 97cr2520-LAB
  9                                              )
                             Plaintiff,          )
 10                                              )    ORDER
                      v.                         )
 11                                              )
      ISMAEL HIGUERA-GUERRERO,                   )
 12                                              )
                             Defendant.          )
 13                                              )
                                                 )
 14
 15          Having been notified that the Solicitor General has approved the Southern District of
 16   California’s submission of a Writ of Mandamus to the Ninth Circuit Court of Appeals related to the
 17   Court’s May 21, 2007 Order unsealing documents and transcripts in the above-captioned matter,
 18          IT IS HEREBY ORDERED that the Court’s May 21, 2007 Order staying the unsealing of the
 19   documents and transcripts at issue be extended from Thursday, May 31, 2007, until Monday,
 20   June 4, 2007.
 21          IT IS SO ORDERED.
 22          DATED:        May 31, 2007
 23
 24                                                     LARRY A. BURNS
                                                        United States District Court Judge
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